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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 20-22430-CIV-ALTONAGA/Goodman

  MARIA ELENA CHAVEZ LETONA,

         Plaintiff,

  v.

  MARIA HOME CARE CORP, et al.,

        Defendants.
  ________________________________/

                 DEFENDANTS’ CERTIFICATE OF INTERESTED PARTIES

         Defendants, MARIA HOME CARE CORP, JENNIFER QUINTAS, and LESBIA

  ANZOATEGUI, by and through undersigned counsel, pursuant to this Court’s Order Requiring

  Scheduling Report and Certificates Of Interested Parties, hereby disclose the following interested

  parties and corporations that may have a financial interest in the outcome of this case:

         1.      Maria Elena Chavez Letona

         2.      Fairlaw Firm (Plaintiff’s counsel)

         3.      Brian Pollack (Plaintiff’s counsel)

         4.      Maria Home Care Corp.

         5.      Jennifer Qtuinas

         6.      Lesbia Anzoategui

         7.      Hall and Leto, P.A. (Defendants’ counsel)

         8.      Matthew Leto (Defendants’ counsel)

         9.      Charles Gourlis (Defendants’ counsel)

  Dated: July 20, 2020



  {11116/00596240.1}
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                                                      Respectfully submitted,

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                                                      2665 South Bayshore Drive - PH One
                                                      Miami, Florida 33133
                                                      TEL. 305-374-5030
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                                                      /s/ Matthew P. Leto
                                                      MATTHEW P. LETO
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                                                      CHARLIE GOURLIS
                                                      Florida Bar No.: 85924
                                                      cgourlis@hlhlawfirm.com


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 20, 2020, a true and correct copy of the foregoing was
  electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing document
  will be served upon interested counsel via transmission of Notices of Electronic Filing generated
  by CM/ECF.


                                                          /s/ Matthew P. Leto




  {11116/00596240.1}
